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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK

RICHARD J. ABRAMO; ROBERT V.
BROWN; and JOHN TOMASSETTI;

                              Plaintiffs,

       -against-                                                    1:09-CV-00269 (LEK/DRH)

TEAL, BECKER & CHIARAMONTE,
CPA’s, P.C.; and JAMES W.
DRISLANE, CPA,

                              Defendants.



                          MEMORANDUM-DECISION and ORDER

I.     INTRODUCTION

       Plaintiffs commenced this action in the Supreme Court of New York in Albany County on

March 21, 2008. Dkt. No. 1-2. On February 17, 2009, Plaintiffs then served a Complaint on

Defendants, asserting claims of professional malpractice, fraudulent misrepresentation, aiding and

abetting fraud, aiding and abetting a breach of fiduciary duty, and conspiracy in violation of the

Racketeering Influence and Corrupt Organizations Act under section 1962(d) of that Act on

February 17, 2009. Dkt. No. 1-5 (“Complaint”). Defendants then removed the action to the United

States District Court for the Northern District of New York on March 6, 2009. Dkt. No. 1.

       On May 12, 2010, the Court issued a Memorandum-Decision and Order (Dkt. No. 18)

(“May 2010 Order”), granting, in part, Defendants’ Motion to dismiss Plaintiffs’ Complaint. See

Dkt. No. 5. To the extent that Plaintiffs’ negligence claim was predicated on Defendants’ conduct

prior to March 21, 2005, the Court found that the claim was time-barred, and dismissed it with

prejudice. See May 2010 Order. The Court dismissed Plaintiffs’ negligence claim without
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prejudice to the extent it was predicated on Defendants’ conduct after March 21, 2005, and granted

Plaintiffs file an amended complaint. Id. The Court also dismissed Plaintiffs’ remaining claims.

Id.

       Plaintiffs then filed a Motion for leave to appeal, seeking either (1) entry of a final

judgment with respect to the time-barred negligence claims, or (2) certification of an interlocutory

appeal challenging dismissal of those claims. See Dkt. No. 20. The Court denied Plaintiffs’

Motion in a Memorandum-Decision and Order issued January 4, 2011. Dkt. No. 23 (“January

2011 Order”). On January 14, 2011, Plaintiffs filed an Amended Complaint with the Court. Dkt.

No. 24 (“Amended Complaint”).

       Presently before the Court is Defendants’ Motion to dismiss the Amended Complaint in its

entirety. Dkt. No. 25 (“Motion”). Plaintiffs filed an Opposition to this Motion on February 15,

2011, and Defendants filed a Reply on February 22, 2011. Dkts. No. 26 (“Plaintiffs’ Opposition”);

27 (“Defendants’ Reply”). For the reasons that follow, Defendants’ Motion is denied.

II.     BACKGROUND

       The Court assumes the parties’ familiarity with the facts underlying this action. For a more

complete statement of the facts, reference is made to the May 2010 Order, the January 2011 Order,

and the Amended Complaint.

       Plaintiffs Richard J. Abramo, Robert V. Brown, and John A. Tomassetti (collectively,

“Plaintiffs”) are former owners of Tougher Industries, Inc. (“Tougher”), a closely held New York

corporation that operated as a general contractor. Am. Compl. ¶¶ 11-12, 15. Along with non-party

Steven Shaw (“Shaw”), the Plaintiffs obtained all capital stock in Tougher on or around September

22, 2003. Id. ¶ 14. Plaintiffs’ ownership interest in the company continued until December 31,


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2005, at which time Plaintiffs sold all of their shares to Shaw. Id. ¶ 18. In the intervening period,

Plaintiffs held positions on the Tougher board of directors, and Shaw served as the company’s

president. Id. ¶¶ 19-20. According to Plaintiffs, Shaw employed Defendant Teal, Becker, and

Chiaramonte, CPA’s, P.C. (“TBC”) to provide various accounting-related services to Tougher

between September 2003 and December 2005. Id. ¶¶ 21-23. Plaintiffs further allege that

Defendant James W. Drislane, C.P.A. (“Drislane”) was the principal accountant providing these

services. Id. ¶ 23.

        On April 7, 2004, Plaintiffs entered into an indemnity agreement with Zurich American

Insurance Company and its subsidiary/affiliate Fidelity & Deposit Company of Maryland (“the

Surety”), which obligated Plaintiffs, in their individual capacity, to indemnify the Surety from any

liability for losses incurred with respect to bonds issued in connection with Tougher projects. Id.

¶¶ 37, 41.

       Pursuant to an audit of Tougher’s finances for the 2004 calendar year, Defendants allegedly

provided Plaintiffs with a preliminary consolidated balance sheet and statement of income and

earnings for the year on or about April 7, 2005, which stated net income of $143,694 and accounts

receivable of approximately $13,000,000. Id. ¶¶ 49-54. Next, Defendants are alleged to have

provided Tougher and Plaintiffs with a preliminary 2004 report on April 20, 2005, which listed a

net loss of $95,538 and a similarly high level of accounts receivable. Id. ¶¶ 55-58. Acting in

reasonable reliance on the reports and Defendants’ subsequent assurances of the accuracy of such

reports, Plaintiffs allege that they allowed the Surety to issue additional bonds in connection with

new construction jobs taken on by Tougher in May and June of 2005 (“May and June 2005

Bonds”). Id. ¶¶ 61-63.


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       On July 25, 2005, Defendants allegedly issued the final report of their audit of Tougher as

of December 21, 2004, reporting substantially similar high levels of accounts receivable of

approximately $13,000,000 and net income of $142,462. Id. ¶¶ 66-67. The Complaint further

alleges that, on or around September 27, 2005, Defendants reported on Tougher’s balance sheet as

of June 30, 2005, and stated accounts receivable as now being approximately $8.9 million and net

income as $148,337. Id. ¶¶ 72-73. Plaintiffs claim that Defendants knew or should have known

that Plaintiffs would reasonably rely on each of Defendants’ reports and assurances, and that

Plaintiffs did in fact reasonably rely on the same. Id. ¶¶ 54, 59, 62-65, 69-71, 74-76.

       Plaintiffs allege that, in October 2005, their personal accountant reviewed Tougher’s

financial records and determined that Tougher’s accounts receivable were “grossly overstated, in

that nearly $2.9 million of accounts receivable was over 120 days old, $1.6 million was invoiced in

2004 or earlier, and nearly $500,000 had been invoiced in 2003 or earlier.” Id. ¶¶ 77-78. Plaintiffs

also allege that their personal accountant found that, due to a lack of certain documentation,

recognized revenue figures reported by Defendants were overstated by at least $1.4 million. Id. ¶

80.

       After Plaintiffs sold their interest in Tougher to Shaw, Tougher began to default on its

obligations under the bond contracts, which resulted in claims being filed against the bonds issued

by the Surety. Id. ¶ 88. The Surety has demanded indemnification from Plaintiffs’ for losses in

excess of $1 million resulting from claims against the May and June 2005 Bonds. Id. ¶ 92.

Plaintiffs allege that, had they been apprised by Defendants of the true financial condition of

Tougher, they would not have authorized the May and June 2005 Bonds and would have “taken

opportunities to avoid further personal exposure and/or to limit existing personal liability to the


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Surety.” Id. ¶¶ 94-95.

III.    STANDARD OF REVIEW

        In reviewing a motion to dismiss pursuant to Rule 12(b)(6) of the Federal Rules of Civil

Procedure, the Court must “accept all [factual] allegations in the complaint as true and draw all

inferences in the light most favorable to” the non-moving party. In re NYSE Specialists Sec. Litig.,

503 F.3d 89, 95 (2d Cir. 2007). “Documents that are attached to the complaint or incorporated in it

by reference are deemed part of the pleading and may be considered.” Roth v. Jennings, 489 F.3d

499, 509 (2d Cir. 2007) (citations omitted). To survive a motion to dismiss, “a complaint must

contain sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible on its

face.’” Ashcroft v. Iqbal, 129 S. Ct. 1937, 1949 (2009) (quoting Bell Atlantic Corp. v. Twombly,

550 U.S. 544, 570 (2007)). This plausibility standard “is not akin to a ‘probability requirement,’

but it asks for more than a sheer possibility that a defendant has acted unlawfully.” Iqbal, 129 S.

Ct. at 1949 (quoting Twombly, 550 U.S. at 570). Facial plausibility exists “when the pleaded

factual content allows the court to draw the reasonable inference that the defendant is liable for the

misconduct alleged.” Iqbal, 129 S. Ct. at 1249. Additionally, the “tenet that a court must accept as

true all of the allegations contained in a complaint is inapplicable to legal conclusions.” Id.

IV.     DISCUSSION

        A. Timeliness under New York C.P.L.R. § 205(a)

        Because Plaintiffs filed their Amended Complaint more than six months after the Court

dismissed their initial Complaint, the Defendants claim that the Amended Complaint is time-barred

by New York Civil Practice Laws and Rules (“C.P.L.R.”) § 205(a) (“Section 205(a)”). This

argument is without merit.


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        Under Section 205(a), a plaintiff who timely commenced an action, and whose action was

terminated, may, under certain circumstances, file a new action within six months that will also be

deemed timely. This provision is designed to prevent a “dismissal, intended as provisional, as the

result of some remediable deficiency” from “permanently barring the plaintiff’s suit.” Hakala v.

Deutsche Bank AG, 343 F.3d 111, 115 (2d Cir. 2003).

       However, Section 205(a) is inapplicable in the present case, in which an amended

complaint was filed in the same action after the Court granted leave to do so. See Butler v.

Caldwell & Cook, 142 A.D.2d 962, 962-63 (N.Y. App. Div. 1988) (“the six month period set forth

in CPLR 205(a) is inapplicable” where plaintiffs’ actions were not terminated and plaintiffs were

given leave to amend their complaints in the existing action). In this case, the initial action was

never “terminated” – and no “new action” was ever filed – within the meaning of Section 205(a).1

Indeed, Defendants have failed to cite any cases in which the filing of an amended complaint in the

same action was found to be barred under Section 205(a).

       Rather, when an amended pleading is filed in the same action, the relevant provision under

New York law is C.P.L.R. § 203(f) (“Section 203(f)”). Under Section 203(f), “[a] claim asserted in

an amended pleading is deemed to have been interposed at the time the claims in the original

pleading were interposed,” unless the claim arose out of a different transaction or occurrence. Id.



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          Defendants argue that the present action was “terminated” by the May 2010 Order, and that
a “new action” was commenced when Plaintiffs filed their Amended Complaint. Defs’ Reply at 2-
5. However, a cursory examination of the record makes clear that all of the pleadings in this case
should be considered one “action.” Although the case was mistakenly closed on the same date that
the May 2010 Order was filed (Dkt. No. 19), the Court made clear that this was a “clerical error”
and the action was “reopened.” Order reopening case (Dkt. No. 21). Further, in later opposing
Plaintiffs’ Motion for leave to appeal, Defendants themselves argued that the May 2010 Order was
an interlocutory, non-final order. Dkt. No. 22 at 10-16.

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The Federal Rules contain a similar provision. See FED . R. CIV . P. 15(c) (“An amendment of a

pleading relates back to the date of the original pleading when . . . the claim or defense asserted in

the amended pleading arose out of the conduct, transaction, or occurrence set forth or attempted to

be set forth in the original pleading”); Travelers Ins. Co. v. 633 Third Assoc., 14 F.3d 114, 125 (2d

Cir. 1994). Accordingly, the Court finds that Plaintiffs’ Amended Complaint should not be

dismissed pursuant to Section 205(a), and instead is deemed to relate back to March 21, 2005, the

date that the initial Complaint was served on Defendants.

       B. Sufficiency of Plaintiffs’ Negligence Claim

       Defendants argue that Plaintiffs’ Amended Complaint stating a cause of action for

negligence should be dismissed because: (1) it continues to assert claims based on negligent

conduct that occurred prior to March 21, 2005; (2) it fails to allege facts supporting proximate

causation; and (3) Plaintiffs lack standing to bring this claim. For the reasons that follow, the Court

rejects each of these arguments.

               1. Failure to Properly Amend Complaint

       First, Defendants claim that Plaintiffs’ Amended Complaint continues to assert claims

based on alleged negligence that occurred prior to March 21, 2005. However, a plain reading of

the Amended Complaint rebuts this argument. Although the Amended Complaint does outline

alleged facts and transactions that occurred prior to March 21, 2005, these allegations were

presented under the heading “Factual Background.” See Am. Compl. ¶¶ 11-50. In contrast, the

portion of the Amended Complaint that states a cause of action for negligence and professional

malpractice makes clear that the relief sought by Plaintiffs is only based upon alleged negligent acts




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and malpractice committed by Defendants after March 21, 2005.2 See Am. Compl. ¶¶ 97-111.

Further, Plaintiffs reduced the damages sought from $3 million in the initial complaint to $1

million in the Amended Complaint to reflect the fact that Defendants can only be held liable for

conduct that occurred after March 21, 2005.

                2. Proximate Causation

         Second, Defendants claim that Plaintiffs fail to allege facts that would support a finding that

Defendants’ negligent conduct proximately caused damages to Plaintiffs. Motion at 19-22. The

Court notes that Defendants raised this argument unsuccessfully in their Motion to dismiss the

original Complaint, and finds that the Amended Complaint similarly cannot be dismissed on this

basis.

         Under New York law, “a claim of professional negligence requires proof that there was a

departure from the accepted standards of practice and that the departure was a proximate cause of

the injury.” Estate of Burke v. Peter J. Repetti & Co., 255 A.D.2d 483, 483 (N.Y. App. Div. 1998)

(internal quotations omitted). In order to properly show proximate cause, “the damages suffered by

plaintiff must be a foreseeable consequence of any misrepresentation or material omission,” as

when “the risk that caused the loss was within the zone of risk concealed by the misrepresentations


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         To the extent that Defendants are concerned that Plaintiffs are still seeking relief based on
alleged negligent acts that transpired prior to March 21, 2005, the Court reiterates its holding in the
May 2010 Order that any relief for such claims is time barred. See May 2010 Order; Motion at 19
(“While Amended Complaint ¶¶ 108 and 110 adds that Plaintiffs relied on the accuracy of reports
received after March 21, 2005, these short statements do not negate the lengthy exposition of
alleged negligence which is alleged to have occurred prior to March 21, 2005 nor does TBC consent
to have these issues tried”). Defendant also states that the Amended Complaint alleges fraud in
paragraphs 99-102, even though the Court dismissed a fraudulent misrepresentation cause of action
in the May 2010 Order. See May 2010 Order; Motion at 19. Again, the Court confirms that the
May 2010 Order only allowed Plaintiffs to replead a cause of action sounding in negligence and
professional malpractice.

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and omissions alleged.” Lentell v. Merrill Lynch & Co., Inc., 396 F.3d 161, 172-73 (internal

quotations and citations omitted).

       In this case, Plaintiffs have sufficiently alleged facts to state a claim that Defendants

negligently prepared financial statements caused them injury. Plaintiffs allege that, based on their

reasonable reliance on the financial reports prepared by Defendants, they had an inaccurate

understanding of Tougher’s financial situation. Am. Compl. ¶¶ 99-108. As the Court found in the

May 2010 Order, “Plaintiffs raise the possibility that they may have had opportunities to [avoid]

incurring potential liabilities under the [indemnification] agreement if they had known about the

poor financial and operational health of Tougher.” May 2010 Order at 14. Accepting all of the

factual allegations in the Amended Complaint as true, the Court finds that Plaintiffs’ claim of

proximate causation is plausible on its face and is adequate to overcome a 12(b)(6) motion to

dismiss.3

               3. Standing

       Finally, Defendants claim that Plaintiffs have no standing to bring this suit because they are

claiming derivative harm to Tougher rather than personal damages. Defendants also raised this

argument in their Motion to dismiss the initial Complaint, stating that “[t]o the extent the

shareholders allege harm to the company, they have no standing.” Dkt. No. 5-3 at 11 (citing

Abrams v. Donati, 108 A.D.2d 704, 705 (N.Y. App. Div. 1985)). The Court agrees that “an

individual shareholder has no right to bring an action in his own name and in his own behalf for a



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          Because the Court finds that Plaintiffs’ Amended Complaint adequately states a claim
under the Fed. R. Civ. P. 12(b)(6) standard as expressed in Iqbal and Twombly, it does not reach the
issue of whether Plaintiffs’ Amended Complaint could instead be measured against the New York
state pleading standard, as Plaintiffs argue in their Opposition. See Dkt. No. 26 at 17-20.

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wrong committed against the corporation.” General Motors Acceptance Corp. v. Kalkstein, 101

A.D.2d 102, 105-06 (N.Y. App. Div. 1984).

          However, in this case, the Court finds that the Amended Complaint alleges individual harm

to the named Plaintiffs rather than harm to Tougher or the corporate entity. Plaintiffs are not

seeking losses to the corporation based on Defendants’ alleged negligence. Rather, Plaintiffs claim

that they each signed an indemnity agreement that exposed them to personal liability on Tougher’s

bond obligations. Am. Compl. ¶¶ 41, 110. Plaintiffs further allege that the Surety has demanded

indemnification from them for losses in excess of $1 million resulting from claims against the May

and June 2005 Bonds. Id. ¶ 92. Taking Plaintiffs’ allegations of personal harm and personal

liability in the Amended Complaint as factual, the Court denies Defendants’ motion to dismiss for

lack of standing.

V.        CONCLUSION

          Accordingly, it is hereby:

          ORDERED, that Defendants’ Motion to dismiss (Dkt. No. 25) is DENIED; and it is

further

          ORDERED, that the Clerk serve a copy of this Order on the parties.

          IT IS SO ORDERED.


DATED:          September 30, 2011
                Albany, New York




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